                                                      Clear Form
DOCUMENTS UNDERCase5:15-cr-00226-EJD
                 SEAL                      Document49                     Filed07/30/15
                                                                             TOTAL TIME (mPage1
                                                                                           ins): of
                                                                                                  351min
M AGISTRATE JUDGE              DEPUTY CLERK                                            REPORTER/FTR
M INUTE ORDER                 Lili M. Harrell                                         FTR: 9:36-10:07am/10:38-10:42am
MAGISTRATE JUDGE               DATE                                                    NEW CASE         CASE NUMBER
Nathanael Cousins                          July 30, 2015                                                15-cr-00226 BLF
                                                       APPEARANCES
DEFENDANT                                   AGE      CUST  P/NP   ATTORNEY FOR DEFENDANT                       PD.      RET.
Douglas York                                         N        P       Graham Archer                            APPT.
U.S. ATTORNEY                               INTERPRETER                             FIN. AFFT                COUNSEL APPT'D
Brianna Penna, Jeff Schenk                                                          SUBMITTED

PROBATION OFFICER             PRETRIAL SERVICES OFFICER                DEF ELIGIBLE FOR               PARTIAL PAYMENT
                              Jaime Carranza                           APPT'D COUNSEL                 OF CJA FEES
                                        PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR              PRELIM HRG       MOTION           JUGM'T & SENTG                               STATUS
                                                                                                                  TRIAL SET
       I.D. COUNSEL                ARRAIGNMENT              BOND HEARING              IA REV PROB. or             OTHER
                                                                                      or S/R
       DETENTION HRG               ID / REMOV HRG           CHANGE PLEA               PROB. REVOC.                ATTY APPT
                                                                                                                  HEARING
                                                      INITIAL APPEARANCE
        ADVISED                   ADVISED                  NAME AS CHARGED               TRUE NAME:
        OF RIGHTS                 OF CHARGES               IS TRUE NAME
                                                         ARRAIGNM ENT
       ARRAIGNED ON                 ARRAIGNED ON               READING W AIVED               W AIVER OF INDICTMENT FILED
       INFORMATION                  INDICTMENT                 SUBSTANCE
                                                          RELEASE
      RELEASED              ISSUED                    AMT OF SECURITY         SPECIAL NOTES                  PASSPORT
      ON O/R                APPEARANCE BOND           $                                                      SURRENDERED
                                                                                                             DATE:
PROPERTY TO BE POSTED                            CORPORATE SECURITY                        REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                  DETAINED           RELEASED        DETENTION HEARING               REMANDED
      FOR             SERVICES                                                     AND FORMAL FINDINGS             TO CUSTODY
      DETENTION       REPORT                                                       W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                              PLEA
    CONSENT                      NOT GUILTY                  GUILTY                     GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                  CHANGE OF PLEA              PLEA AGREEMENT             OTHER:
    REPORT ORDERED                                           FILED
                                                         CONTINUANCE
TO:                               ATTY APPT                 BOND                     STATUS RE:
8/4/2015 (previously set)         HEARING                   HEARING                  CONSENT                   TRIAL SET

AT:                               SUBMIT FINAN.              PRELIMINARY             CHANGE OF                 STATUS
                                  AFFIDAVIT                  HEARING                 PLEA
8:30am                                                       _____________
BEFORE HON.                       DETENTION                  ARRAIGNMENT              MOTIONS                  JUDGMENT &
                                  HEARING                                                                      SENTENCING
Freeman
       TIME W AIVED               TIME EXCLUDABLE            IDENTITY /              PRETRIAL                  PROB/SUP REV.
                                  UNDER 18 § USC             REMOVAL                 CONFERENCE                HEARING
                                  3161                       HEARING
                                                  ADDITIONAL PROCEEDINGS
Court found based on deft's admission there was a violation of the release conditions and modifies the conditions: Deft is
ordered to report to the halfway house as identified by Pretrial Services as soon as space is available. Deft to participate in
drug testing and treatment as directed by Pretrial. If no space available by 8/4, PTS to notify parties and Court will reconvene.
                                                                                           DOCUMENT NUMBER:
